                                                                                  Case 2:20-cv-01442-RFB-NJK Document 22 Filed 01/22/21 Page 1 of 2



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                                                                                  Attorney for Plaintiff
                                                                              6

                                                                              7                                  UNITED STATES DISTRICT COURT

                                                                              8                                         DISTRICT OF NEVADA

                                                                              9   JERMAINE KING, an individual;                             Case No.: 2:20-cv-01442-RFB-NJK
                                                                             10                                        Plaintiff,
                                                                             11         v.
Law Office of Kevin L. Hernandez




                                                                             12                                                                 STIPULATION AND ORDER FOR
                                   TEL: (702) 563-4450 FAX: (702) 552-0408




                                                                                  CONN CREDIT CORPORATION, INC., a                                DISMISSAL OF DEFENDANT
                                       8872 S. Eastern Avenue, Suite 270




                                                                             13   foreign corporation; EQUIFAX INFORMATION                        EXPERIAN INFORMATION
                                                                                  SERVICES, LLC, a foreign limited-liability
                                           Las Vegas, Nevada 89123




                                                                                                                                              SOLUTIONS, INC. WITH PREJUDICE
                                                                             14   company; EXPERIAN INFORMATION
                                                                                  SOLUTIONS, INC., a foreign corporation;
                                                                             15
                                                                                                                      Defendants.
                                                                             16

                                                                             17              Plaintiff, Jermaine King (“Plaintiff”), and Defendant, Experian Information Solutions, Inc.

                                                                             18   (“Experian”) (the “Parties”) have resolved all claims, disputes, and differences between the Parties.

                                                                             19              Therefore, the Parties, by and through their respective attorneys of record, and subject to

                                                                             20   the Court’s approval, respectfully request dismissal of the above-captioned matter with prejudice

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                                                                              1   under FRCP 41(a) as to Experian, with Plaintiff and Experian bearing their own attorneys’ fees

                                                                              2   and costs incurred in this action.

                                                                              3   Respectfully Submitted.

                                                                              4
                                                                                   Dated: January 20, 2021                       Dated: January 20, 2021
                                                                              5
                                                                                   LAW OFFICE OF                                 NAYLOR & BRASTER
                                                                              6    KEVIN L. HERNANDEZ
                                                                                                                                 /s/ Andrew J. Sharples
                                                                              7    /s/ Kevin L. Hernandez                        Jennifer L. Braster, Esq.
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                                                                                                                                 JONES DAY
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                                                                             14                                                  kneben@jonesday.com
                                                                             15                                                  Attorneys for Defendant Experian Information
                                                                                                                                 Solutions, Inc.
                                                                             16

                                                                             17
                                                                                                                                 IT IS SO ORDERED:
                                                                             18

                                                                             19                                                  ____________________________________
                                                                                                                                 UNITED STATES DISTRICT JUDGE
                                                                             20

                                                                             21                                                  DATED: ____________________________
                                                                             22
                                                                                                                             DATED this 22nd day of January, 2021.
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